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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


 IN RE: BABY FOOD MARKETING,                       MDL No. 2997
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION


                                      PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing Notice of

Appearance and attached Schedule of Actions was filed on March 23, 2021, using the JPML

ECF System, which sends electronic notice to counsel. It was also served via e-mail on March

23, 2021, on the following parties:


             McKeon, et al., v. Plum, PBC, et al., No. 21-cv-01113-YGR (N.D. Cal.)

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